Case 2:15-cv-11080-MOB-APP ECF No. 16, PageID.347 Filed 04/07/15 Page 1 of 3




                           INDEX OF EXHIBITS


  1. Request for tax clearance for Southwest Metals

  2. “Crackdown in a Detroit Stripped of Metal Parts,” New York Times, March
     15, 2015

  3. “Scrappers Decimate Detroit’s Southwestern High School Just Two Years
     After it Closed,” MLive, March 13, 2014

  4. “Scrappers Take Anything of Value from DPS Sites,” Detroit News,
     November 10, 2010

  5. “9 Ways Scrappers are Destroying Detroit Area,” Motor City Muckraker,
     April 11, 2014

  6. Scrap Metal Regulatory Act, MCL 445.421 – 445.443

  7. Chapter 49, Article 8 of the Detroit City Code, sections 49-8-1 through 49-8-
     28

  8. DPD report re Case No. 1207300394

  9. DPD report re Case No. 1209030248

  10. DPD report re Case No. 1208280280

  11. DPD Report re Case No. 1301030071

  12. DPD Investigator’s Report re Case No. 1305050069 and related documents

  13. DPD Report re Case No. 1309200268

  14. DPD report re Case No. 1403210278

  15. DPD Investigator’s Report prepared on or about March 21, 2014 involving
     tipster
  16. DPD report re Case No. 140321020278
Case 2:15-cv-11080-MOB-APP ECF No. 16, PageID.348 Filed 04/07/15 Page 2 of 3




  17. DPD report re Case No. 1408070309

  18. DPD report re Case No. 1409040312

  19. DPD Investigator’s Report re Case No. 1411070300.6

  20. DPD report re Case No. 1502090237

  21. Detroit Police Department summary noting that in 9 out of 20 total cases
     involving the sale of stolen non-ferrous metals in 2014, the sellers stated that
     the sold to Southwest Metals and/or the investigation eventually led to
     Southwest Metals.

  22.Proposed Pre-Hearing Conference Summary, describing 24 separate incidents
     involving various legal violations occurring at Southwest Metals since 2011

  23.BSEED letter dated March 31, 2014 noting City’s intent to revoke Southwest
     Metal’s business license

  24.BSEED letter dated March 31, 2014 noting City’s intent to revoke Southwest
     Metal’s business license

  25. Emerald Casino, Inc. v Jaffe, 2005 U.S. Dist LEXIS 24261 (N.D. Ill Oct. 17,
     2005)

  26. Upfront Tavern & Grill v City of Chicago, 1994 U.S. Dist LEXIS 6780

  27. Sergeant McKay summary of police activity in 2014

  28.Khan v City of Flint, 2010 Mich App LEXIS 2340, at pages *10 - *12,
     reversed on other grounds, 490 Mich 851 (2011)

  29. Stoll v City of Detroit, 2002 Mich App LEXIS 426

  30. Big Valley Corp. v Weinrib, 1997 Mont. Dist. LEXIS 650 (Mont Dist. Ct.
     1997)

  31.Police reports regarding arrests of James Pratt of Lafayette Recycling and
     Marshall Wilson of Detroit Iron & Metal
Case 2:15-cv-11080-MOB-APP ECF No. 16, PageID.349 Filed 04/07/15 Page 3 of 3




  32. Letters of notice of intent to revoke or decline to renew business licenses of
     Lafayette Recycling, Detroit Iron & Metal, and Basic Recycling
